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                                       Exhibit 1
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07/29/2009    6328 MOTION to Take Deposition from Carolyn Helton and Robin Kreush Stone by
                   Boehringer Ingelheim Pharmaceuticals, Inc., Roxane Laboratories, Inc,
                   Boehringer Ingelheim Corp., Boehringer Ingelheim Roxane, Inc..(Gortner, Eric)
                   (Entered: 07/29/2009)


09/30/2009          Magistrate Judge Marianne B. Bowler: ORDER entered terminating 5672
                    Motion for Clarification ; terminating 5678 Motion for Protective Order;
                    terminating 5697 Motion to Compel; terminating 5728 Motion to Compel;
                    terminating 5898 Motion to Compel; terminating 5976 Motion for Protective
                    Order; terminating 6328 Motion to Take Deposition and terminating 6384
                    Motion, in accordance with rulings made in open court on September 14, 2209.
                    (Bowler, Marianne) (Entered: 09/30/2009)
